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                    UNITED STATES DISTRICT COURT

                   FOR THE DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA,
et al.,
                                          Civil Action No. 2:24-cv-04055
                   Plaintiffs,            (JXN-LDW)
      vs.                                 Hon. Julien X. Neals, U.S.D.J.
                                          Hon. Leda D. Wettre, U.S.M.J.
APPLE, INC.,
                                          Oral argument requested
                   Defendant.
                                          Document filed electronically


                    NON-PARTY MATCH GROUP, INC.’S

            NOTICE OF MOTION AND MOTION TO INTERVENE


TO: All Counsel

COUNSEL:

     PLEASE TAKE NOTICE that Non-Party Match Group, Inc. (“Match

Group”), by and through its undersigned counsel, shall move before the Honorable

Julien X. Neals, U.S.D.J. at a date and time to be determined by the Court, at the

Martin Luther King Building & United States Courthouse, 50 Walnut Street,

Newark, New Jersey 07101, for an Order, pursuant to Federal Rule of Civil

Procedure 24(a)(2) and (b).




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      PLEASE TAKE FURTHER NOTICE that in support of this Motion,

Match Group will rely on its Memorandum in Support of Match Group, Inc.’s

Motion to Intervene, any additional replies or submissions made hereafter, and all

pleadings and proceedings on file.

       PLEASE TAKE FURTHER NOTICE that a proposed form of order is

submitted herewith.

     PLEASE TAKE FURTHER NOTICE that Match Group hereby requests

oral argument.

     PLEASE TAKE FURTHER NOTICE that a Certification attesting to the

date and manner of service is also submitted herewith.




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Dated: October 8, 2024


                                          /s/   Marisa Rauchway
 Douglas J. Dixon (pro hac vice        Marisa Rauchway
 pending)                              April Campos
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                                       Group, Inc.




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                            CERIFICATE OF SERVICE


      I certify that a copy of the foregoing was served on this date upon all counsel

of record via ECF filing.

                                      CHIESA SHAHINIAN & GIANTOMASI
                                       PC
                                      Local Counsel for Non-Party Match Group,
                                      Inc.



                                      By /s/ Marisa Rauchway
                                          MARISA RAUCHWAY
Dated: October 8, 2024                    105 Eisenhower Parkway
                                          Roseland, New Jersey
                                          (973) 325-1500




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